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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


DEBORAH WILLIAMS AS NEXT                        §
FRIEND OF LENOIR WAREING,                       §
INCOMPETENT,                                    §
                                                §
                                  Plaintiff,    §
                                                §
v.                                              §
                                                §
SSC DALLAS OPERATING CO., LLC,                  §
INDIVIDUALLY AND D/B/A THE                      §       CIVIL ACTION NO. __________
MEADOWS HEALTH AND                              §
REHABILITATION CENTER,                          §
SAVASENIORCARE                                  §
ADMINISTRATIVE SERVICES, LLC,                   §
SAVA SENIORCARE CONSULTING,                     §
LLC AND SAVASENIORCARE, LLC,                    §
                                                §
                               Defendants.      §



                        JOINT CONSENT NOTICE OF REMOVAL
                            ON BEHALF OF ALL DEFENDANTS

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

         PLEASE TAKE NOTICE that Defendants SSC Dallas Operating Co., LLC, Individually

and d/b/a The Meadows Health and Rehabilitation Center, SavaSeniorCare Administrative

Services, LLC, SavaSeniorCare Consulting, LLC, and SavaSeniorCare, LLC, hereby remove the

above-styled action to this Court from the 95th Judicial District Court of Dallas County, Texas,

by filing this Notice and by filing a copy of this Notice in the 95th District Court of Dallas

County, Texas.

         This Motion is made jointly and with the unambiguous consent of all Defendants. In

support thereof, Defendants state as follows:

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         1.     This action is being removed pursuant to 28 U.S.C. § 1441(a) because it is

between citizens of different States and the amount in controversy exceeds the sum of

$75,000.00, exclusive of interest and costs. See 28 U.S.C. § 1332(a)(1).

         2.     Plaintiff Deborah Williams, as Next Friend of Lenoir Wareing, Incompetent,

commenced this action on April 22, 2016 by filing an Original Petition, then an Amended

Original Petition on June 17, 2016 in the 95th Judicial District Court of Dallas County, Texas,

styled Deborah Williams, as Next Friend of Lenoir Wareing, Incompetent v. SSC Dallas

Operating Co., LLC, Individually and d/b/a The Meadows Health and Rehabilitation Center,

SavaSeniorCare Administrative Services, LLC, SavaSeniorCare Consulting, LLC and

SavaSeniorCare, LLC, Cause No. DC-16-03674 (“State Court Action”). A copy of the docket

sheet and all other process, pleadings, and orders served on Defendants and on file in the State

Court Action are attached hereto as Exhibit A, as required by 28 U.S.C. § 1446(a).

         3.     This is a proceeding in which Plaintiff alleges various causes of action against

Defendants, arising from and concerning the provision of healthcare to Plaintiff’s friend, Lenoir

Wareing, while she was a resident at The Meadows Health and Rehabilitation Center, a skilled

nursing facility.

         4.     Pursuant to 28 U.S.C. § 1446(d), the Defendants will promptly serve a copy of

this Joint Consent Notice of Removal upon counsel for Plaintiff and will promptly file a copy of

the same with the District Clerk of the 95th Judicial District Court of Dallas County, Texas.

               JURISDICTIONAL FACTS, ARGUMENT AND AUTHORITY
                     DEMONSTRATING REMOVAL IS PROPER


         5.     Upon information and belief, at all times relevant to the Original Petition,

Plaintiff’s friend was a citizen and resident of Texas. Upon information and belief, the named

Plaintiff is also a citizen and resident of Texas. See Amended Original Petition, Section I, ¶ 1.
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         6.    At the time of commencement of this proceeding and at all times at issue, SSC

Dallas Operating Co., LLC was and is a limited liability company organized and existing under

the laws of Delaware. A limited liability company is assigned the citizenship of its members.

See Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008).


         7.    For federal diversity jurisdiction purposes, the citizenship of SSC Dallas

Operating Co., LLC must be determined by the citizenship of its sole non-managing member,

SSC Equity Holdings, LLC whose sole member is Master Tenant Parent Holdco, LLC whose

sole non-managing member is SavaSeniorCare, LLC whose sole member is Proto Equity

Holdings, LLC whose sole member is Terpax, Inc. Terpax, Inc. is a Delaware corporation with

its principle place of business in Georgia. Therefore, SSC Dallas Operating Co., LLC is deemed

a citizen of both the States of Georgia and Delaware.


         8.    At the time of commencement of this proceeding and at all times at issue,

SavaSeniorCare Administrative Services, LLC was and is a limited liability company organized

and existing under the laws of Delaware. For federal diversity jurisdiction purposes, the

citizenship of SavaSeniorCare Administrative Services, LLC must therefore be determined by

the citizenship of its sole member Admin Parent Holdco, LLC whose sole member is

SavaSeniorCare, LLC whose sole member is Proto Equity Holdings, LLC whose sole member is

Terpax, Inc. Terpax, Inc. is a Delaware corporation with its principle place of business in

Georgia. Therefore, SavaSeniorCare Administrative Services, LLC is deemed a citizen of both

the States of Georgia and Delaware. .


         9.    At the time of commencement of this proceeding and at all times at issue,

SavaSeniorCare Consulting, LLC was and is a limited liability company organized and existing

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under the laws of Delaware. For federal diversity jurisdiction purposes, the citizenship of

SavaSeniorCare Consulting, LLC must therefore be determined by the citizenship of its sole

member Consulting Parent Holdco, LLC whose sole member SavaSeniorCare, LLC whose sole

member is Proto Equity Holdings, LLC whose sole member is Terpax, Inc. Terpax, Inc. is a

Delaware corporation with its principle place of business in Georgia. Therefore, SavaSeniorCare

Consulting, LLC is deemed a citizen of both the States of Georgia and Delaware.


         10.   At the time of commencement of this proceeding and at all times at issue,

SavaSeniorCare, LLC was and is a limited liability company organized and existing under the

laws of Delaware. For federal diversity jurisdiction purposes, the citizenship of SavaSeniorCare,

LLC must therefore be determined by the citizenship of its sole member Proto Equity Holdings,

LLC whose sole member is Terpax, Inc.           Terpax, Inc. is a Delaware corporation with its

principle place of business in Georgia. Therefore, SavaSeniorCare, LLC is deemed a citizen of

both the States of Georgia and Delaware.


         11.   Complete diversity of citizenship exists between the Plaintiff and all Defendants

pursuant to 28 U.S.C. § 1332, as Plaintiff and all Defendants are citizens of different states.


         12.   Venue lies in this Court, i.e., the United States District Court for the Northern

District of Texas, Dallas Division, pursuant to 28 U.S.C. § 1441(a), because the original action

was filed in a state court in the 95th Judicial District Court of Dallas County, Texas, located

within the Northern District of Texas, Dallas Division. Venue therefore is proper in this Court

because it is in the “district and division embracing the place where such action is pending.” Id.


         13.   Plaintiff’s Original Petition alleges that the negligent acts and omissions by

Defendants were the proximate cause of the injuries to Plaintiff’s friend. These proceedings are
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of a civil nature and involve a controversy wholly between citizens of different states. The value

of the matter in dispute in said cause, upon information and belief, exceeds the sum of Seventy-

Five Thousand ($75,000.00) Dollars, exclusive of interest and costs, as appears from the

allegations contained in Plaintiff’s Original Petition. Plaintiff seeks punitive damages and actual

damages from Defendants, including damages for pain and suffering of decedent, mental anguish

of decedent, and past medical expenses incurred for decedent’s treatment,. See Amended

Original Petition, Sections VII and XIII. In light of the allegations alleged by Plaintiff, it is

sufficiently probable and/or certain that the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs.


                                            PRAYER


         14.   WHEREFORE, Defendants SSC Dallas Operating Co., LLC, Individually and

d/b/a The Meadows Health and Rehabilitation Center, SavaSeniorCare Administrative Services,

LLC, SavaSeniorCare Consulting, LLC, and SavaSeniorCare, LLC, ask this Court to remove the

action referred to as Deborah Williams, as Next Friend of Lenoir Wareing, Incompetent v. SSC

Dallas Operating Co., LLC, Individually and d/b/a The Meadows Health and Rehabilitation

Center, SavaSeniorCare Administrative Services, LLC, SavaSeniorCare Consulting, LLC and

SavaSeniorCare, LLC, Cause No. DC-16-03674 filed in the in the 95th Judicial District Court of

Dallas County, Texas, to this Federal District Court.

                                             Respectfully submitted,

                                             COOPER & SCULLY, P.C.


                                             By:        /s/ Lori D. Proctor
                                                        LORI D. PROCTOR
                                                        State Bar No. 16682400
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                                           ATTORNEYS FOR DEFENDANTS SSC
                                           DALLAS OPERATING COMPANY, LLC,
                                           INDIVIDUALLY AND D/B/A/ THE
                                           MEADOWS HEALTH AND
                                           REHABILITATION CENTER;
                                           SAVASENIORCARE ADMINISTRATIVE
                                           SERVICES, LLC; AND SAVASENIORCARE
                                           CONSULTING SERVICES, LLC

                               CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing has been served on counsel of record this 13th
day of July, 2016, in this manner pursuant to the Federal Rules of Civil Procedure.




                                                          /s/ Jackie S. Cooper
                                                          Lori D. Proctor




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